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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No.: 15-CV-02184-RM-STV

  PRISON LEGAL NEWS, a project of the HUMAN RIGHTS DEFENSE CENTER,

                  Plaintiff,

                  v.

  FEDERAL BUREAU OF PRISONS,

              Defendant.
  ______________________________________________________________________________

                     DECLARATION OF ALYSON R. SANDLER
  ______________________________________________________________________________


                  1.      I am an associate with the law firm of Covington & Burling LLP, counsel

  for Plaintiff Prison Legal News (“PLN”). I am a member in good standing of the bar of New

  York and am admitted to practice before this Court.

                  2.      I have personal knowledge of the facts set forth in this Declaration, which

  is made in support of PLN’s Motion for Partial Summary Judgment, and, if called to testify, I

  could and would testify competently thereto.

                  3.      Attached as Exhibit 5 is a true and correct copy of the October 2011 issue

  of Prison Legal News.

                  4.      Attached as Exhibit 7 is a true and correct copy of the November 2011

  issue of Prison Legal News.

                  5.      Counsel for PLN received Defendant’s Second Supplemental Responses

  to Plaintiff’s First Interrogatories in this matter on September 22, 2017, in which Defendant




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  Federal Bureau of Prisons (“BOP”) provided supplemental responses to fifteen interrogatories. A

  true and correct copy of the foregoing responses is attached as Exhibit 8.

                 6.     Attached as Exhibit 10 is a true and correct copy of portions of the

  transcript of the deposition of Todd Chapman, taken on March 16, 2018.

                 7.     Attached as Exhibit 14 is a true and correct copy of the February 2013

  issue of Prison Legal News.

                 8.     Counsel for PLN received Defendant’s Responses to Plaintiff’s First

  Requests for Admission in this matter on February 18, 2018, in which BOP responded to thirty-

  one of PLN’s thirty-one requests for admission. A true and correct copy of the foregoing

  responses is attached as Exhibit 15.

                 9.     Attached as Exhibit 16 is a true and correct copy of Rezaq v. Nalley, 677

  F.3d 1001 (10th Cir. 2012), downloaded from Lexis Nexis on January 11, 2018.

                 10.    Attached as Exhibit 18 is a true and correct copy of the April 2013 issue of

  Prison Legal News.

                 11.    Attached as Exhibit 19 is a true and correct copy of Al-Owhali v. Holder,

  687 F.3d 1236 (10th Cir. 2012), downloaded from Lexis Nexis on January 11, 2018.

                 12.    Attached as Exhibit 21 is a true and correct copy of the July 2013 issue of

  Prison Legal News.

                 13.    Attached as Exhibit 22 is a true and correct copy of Palma-Salazar v.

  Davis, 677 F.3d 1031 (10th Cir. 2012), downloaded from Lexis Nexis on January 11, 2018.

                 14.    Attached as Exhibit 26 is a true and correct copy of portions of the

  transcript of the deposition of Mark Collins, taken on April 19, 2018.




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                 15.     Attached as Exhibit 27 is a true and correct copy of a letter from J. Oliver,

  Warden, United States Penitentiary – Administrative Maximum, to Peter A. Swanson, Esq.,

  Covington & Burling LLP, dated September 15, 2015.

                 16.     Attached as Exhibit 28 is a true and correct copy of portions of the

  transcript of the deposition of John Dunkleberger, taken on March 9, 2018.

                 17.     Attached as Exhibit 29 is a true and correct copy of portions of the

  transcript of the deposition of David Berkebile, taken on January 19, 2018.

                 18.     Counsel for PLN received Defendant’s Third Supplemental Responses to

  Plaintiff’s First Interrogatories in this matter on May 4, 2018, in which BOP provided

  supplemental responses to ten interrogatories. A true and correct copy of the foregoing responses

  is attached as Exhibit 30.

                 19.     Attached as Exhibit 32 is a true and correct copy of the September 2013

  issue of Prison Legal News.

                 20.     Attached as Exhibit 33 is a true and correct copy of portions of the

  transcript of the deposition of Todd Chapman, taken on January 17, 2017.

                 21.     Attached as Exhibit 34 is a true and correct copy of a document produced

  by PLN by BOP entitled “Institution Supplement Number 5266.11C, Incoming Publications,”

  dated February 2, 2016, bearing Bates numbers BOP000023 to BOP000028.

                 22.     Counsel for PLN received Defendant’s First Supplemental Responses to

  Plaintiff’s First Interrogatories in this matter on January 13, 2017, in which BOP provided

  supplemental responses to three interrogatories. A true and correct copy of the foregoing

  responses is attached as Exhibit 35.




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                 23.    Counsel for PLN received Defendant’s Responses to Plaintiff’s Second

  Interrogatories in this matter on February 8, 2018, in which BOP responded to five of PLN’s five

  interrogatories. A true and correct copy of the foregoing responses is attached as Exhibit 36.

                 24.    As of the date of this declaration, BOP has produced 10,584 pages of

  documents in response to PLN’s requests for production of documents.

                 25.    Pursuant to agreement with BOP counsel, Exhibits 2, 3, 4, 6, 9, 11, 12, 13,

  17, 20, 23, and 24 have been redacted to remove names and other identifying information of

  ADX inmates.

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

  United States that the foregoing is true and correct to the best of my knowledge and belief.



  Executed on May 14, 2018 in Washington, D.C.



                                         /s/Alyson R. Sandler
                                          Alyson R. Sandler




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